                        MEMORANDUM CASES.
This is an appeal by plaintiff from the same judgment which we had under consideration in Merrick  Ruddick, Inc., v.Security Trust  Savings Bank, (No. 7995) ante, p. 219 [5 P.2d 67]. Plaintiff here complains of the method adopted in computing the amount of the judgment, contending that it was entitled to judgment in a larger sum. We deem it unnecessary to discuss the propriety of the method adopted as we are of the opinion that plaintiff was not entitled to an accounting nor to any judgment against defendants.
[1] For the reasons stated in the opinion this day filed inMerrick  Ruddick, Inc., v. Security Trust  Savings Bank,
(No. 7995) supra, the judgment is reversed, respondents herein to recover their costs.
Nourse, P.J., and Sturtevant, J., concurred. *Page 759 